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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
----------------------------------------X
                                        :
JOHN DAVID KRULISKY, on behalf of       :
himself and others similarly situated, :
                                        :            10 Civ. 8700 (DLC)
                         Plaintiff,     :
                                        :            OPINION AND ORDER
               -v-                      :
                                        :
BRISTOL-MYERS SQUIBB COMPANY,           :
                                        :
                         Defendant.     :
                                        :
----------------------------------------X

APPEARANCES

For plaintiff:
Charles Edward Joseph
Daniel Maimon Kirschenbaum
Joseph, Herzfeld, Hester, & Kirschenbaum
233 Broadway, 5th Floor
New York, NY 10017

Richard Jennings Burch
James A. Jones
Bruckner Burch LLP
1415 Louisiana Street
Suite 2125
Houston, TX 77002

For defendant:
Thomas Anton Linthorst
Prashanth Jayachandran
Joseph Alan Nuccio
Morgan, Lewis & Bockius LLP
101 Park Avenue
New York, NY 10178

DENISE COTE, District Judge:

     Plaintiff Jeffrey Bethune filed a complaint initiating this

purported collective action under the Federal Labor Standards


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Act (“FLSA”) on November 18, 2010 against Bristol-Myers Squibb

Company (“BMS”).    The action is brought for the benefit of BMS

territory business managers, associate territory business

managers, pharmaceutical representatives and pharmaceutical

sales representatives.     After several individuals filed consent

forms to sue under the FLSA, an amended complaint was filed on

April 25, 2011 replacing Jeffrey Bethune with John David

Krulisky (“Krulisky”) as the named plaintiff.        On May 9, BMS

filed a motion to transfer this action to the District of New

Jersey, or, in the alternative, to the Western District of

Washington or the Southern District of Florida, pursuant to 28

U.S.C. § 1404(a).    The motion was fully submitted on June 10.

For the following reasons, BMS’s motion to transfer this action

to the District of New Jersey is granted.



DISCUSSION

     Section 1404 provides:     “For the convenience of parties and

witnesses, in the interest of justice, a district court may

transfer any civil action to any other district or division

where it might have been brought.”       28 U.S.C. § 1404(a).

District courts have “broad discretion in making determinations

of convenience under Section 1404(a) and notions of convenience

and fairness are considered on a case-by-case basis.”          D.H.

Blair & Co., Inc. v. Gottdiener, 462 F.3d 95, 106 (2d Cir.

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2006).     The movant bears the burden of establishing, by “clear

and convincing evidence,” that a transfer of venue is warranted.

N.Y. Marine & Gen. Ins. Co. v. Lafarge N. Am., Inc., 599 F.3d

102, 114 (2d Cir. 2010).

     If the transferee court would also have jurisdiction over

the case, the court must determine whether, considering the

“convenience of parties and witnesses” and the “interest of

justice,” a transfer is appropriate. In making that

determination, a court considers:

     (1) the plaintiff’s choice of forum, (2) the
     convenience of witnesses, (3) the location of relevant
     documents and relative ease of access to sources of
     proof, (4) the convenience of parties, (5) the locus
     of operative facts, (6) the availability of process to
     compel the attendance of unwilling witnesses, and (7)
     the relative means of the parties.
Id. at 112 (citation omitted).         A court may also consider “the

forum’s familiarity with the governing law” and “trial

efficiency and the interest of justice, based on the totality of

the circumstances.” Berman v. Informix Corp., 30 F. Supp. 2d

653, 657 (S.D.N.Y. 1998).

I.   Venue is Appropriate in New Jersey

     The plaintiff does not dispute that this action could

have been brought in New Jersey.           As discussed below, a

substantial part of the events giving rise to the

plaintiff’s claim took place in New Jersey, and BMS is

subject to personal jurisdiction in that District.


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II.   Relevant Factors in Considering Transfer to Another
      Appropriate Forum

      A. Convenience of the Parties

      Krulisky is a resident of Florida, and none of the other

plaintiffs that have opted in are resident or worked in this

District.   Instead, four are residents in the State of

Washington, two others are residents of Florida, one is a

resident of Maryland and one is a resident of Michigan.

Although BMS maintains its corporate headquarters in New York,

the home office and headquarters for its U.S. Pharmaceutical

Group (“USP”), the group for which plaintiffs work or worked, is

located in Plainsboro, New Jersey.        The Plainsboro office

includes the senior executives of USP, and indeed all those

involved in sales or supporting sales for USP other than the

field sales managers located across the country.          Neither party

has argued that the BMS employees relevant to the claims in this

action work in the New York office.        Therefore, the Southern

District of New York is not a particularly convenient forum for

any of the parties, and the District of New Jersey is more

convenient for the defendant.

      Although the plaintiff argues that BMS has not shown that

New York is significantly more inconvenient than New Jersey,

because the test for a transfer of venue is a multi-factor test,

this is not a standard that a party seeking a transfer must


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meet.    As BMS points out, if one seeking a transfer must always

prove that one district is significantly more inconvenient than

the requested forum, it would be rare for a case to be

transferred between adjoining districts.

     Plaintiff also points out that BMS has initiated suits in

the Southern District of New York concerning its pharmaceutical

products.    This is irrelevant, as the locus of facts, witnesses,

and documents for actions regarding BMS’s intellectual property

in its products or other corporate functions may be centered in

New York, and is separate from the issue presented here –-

policies regarding and compensation of its USP sales force.

     B. Locus of Operative Facts

     The plaintiff’s claims arise from an alleged failure

to pay overtime to him and other people in his and similar

positions.    The resolution of this issue will require a

review of the job duties of the plaintiff and others like

him, including as they were set and reviewed by the

managers at BMS in its Plainsboro, New Jersey office, as

well as the mangers in the field around the country.            BMS

argues that any relevant compensation decisions also took

place in Plainsboro, New Jersey.          The plaintiff does not

object to this assessment.       Therefore, none of the

operative facts occurred in the Southern District of New




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York, and many of them took place in the District of New

Jersey.

     C. Plaintiff’s Choice of Forum

     Although a plaintiff’s choice of forum is ordinarily

given substantial weight, that choice is entitled to “less

significant consideration in a []putative[] class action

than in an individual action.”      In re Warrick, 70 F.3d 736,

741 n.7 (2d Cir. 1995).     This principle has been applied to

collective actions under the FLSA.       E.g., Amick v. American

Exp. Travel Related Services Co., Inc., No. 09 Civ.

9780(AKH), 2010 WL 307579, at *2 (S.D.N.Y. Jan. 26, 2010).

Furthermore, a plaintiff’s choice of forum is also not

accorded much weight where, as here, the plaintiffs’

residence and the locus of operative facts are not in the

selected forum.   See Iragorri v. United Technologies Corp.,

274 F.3d 65, 71-72 (2d Cir. 2001) (forum non conveniens

analysis); Amick, 2010 WL 307579, at *2 (§1404 analysis).

     The plaintiff’s argument that his choice of forum

should be given greater weight because future possible opt-

in plaintiffs may include a large number from the State of

New York is unavailing.     This argument is based on an

assumption that the distribution of USP’s sales staff

mirrors the distribution of the national population.          Even

if that were a valid assumption, the plaintiff provides an

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estimate for how many potential opt-in plaintiffs would

reside in the State of New York, which is, of course,

larger than the Southern District of New York.

Furthermore, the argument ignores that, thus far, not a

single plaintiff from this District has opted in to this

case.

     D. Convenience of Witnesses

     The likely witnesses are currently or formerly employed by

BMS as managers in human resources, compensation, training, and

other departments of USP who work and live in the District of

New Jersey, or nearby in Pennsylvania.         New Jersey is therefore

somewhat more convenient for these witnesses.

     Insofar as some of these witnesses are current BMS

employees, the inconvenience is mitigated because, as party-

employed witnesses, they can be made available by BMS, who can

pay for their transport to this District.          But this does not

mean, as the plaintiff implies, that this District is equally

convenient as the District where those employees live and work.

Indeed, the case law cited by plaintiff himself indicates that

when party-employed witnesses are located outside a plaintiff’s

chosen forum, this is a factor that weighs in favor of transfer.

     Although the plaintiffs are not alleged to work or live in

New Jersey, neither do they live in or near New York.




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Therefore, the District of New Jersey is no less convenient for

the plaintiffs than the Southern District of New York.

     E. Location of Documents and Other Sources of Proof
     The majority of the relevant documents in this case

are likely to be supplied by BMS, and these are located at

its Plainsboro, New Jersey location.       As the cases cited by

both plaintiff and BMS indicate, because these documents

might be easily transportable, this factor weighs in favor

of transfer, but only slightly.

     F. Availability of Process
     BMS suggests that some of its witnesses might be

former employees that worked at its Plainsboro office and

may still live in New Jersey.      This factor weighs in favor

of transfer, as the District of New Jersey will be better

able to compel their attendance at trial.

     G. Trial Efficiency and the Interests of Justice
     BMS claims that the interests of justice favor

transfer because jury duty should not be imposed on a

community which has no connection to a case; the Southern

District of New York has one of the heaviest caseloads in

the nation and has no special subject matter specialty in

this type of action; and the plaintiff appears to be forum

shopping by choosing the Southern District of New York.

The plaintiff counters that BMS has not shown that this


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District is any more burdened than the District of New

Jersey and that BMS is the party that is forum shopping

through this motion to transfer.

     At this early stage in the litigation, it is hard to

assess the impact of the Circuit cases that the parties

suggest have caused their opponent to seek a more favorable

forum.     While this District’s docket is large, there is no

basis to find that this action cannot be addressed

efficiently here.       On the other hand, there is no basis to

find forum shopping by BMS.        The District of New Jersey has

the strongest connection to this action.           On balance, the

interests of justice favor transfer because of New Jersey’s

connection to the issues that will be litigated in this

lawsuit.

     H. Other Factors

     The parties did not brief other factors typically

included in the transfer analysis, such as their relative

means and the transferee forum’s familiarity with the

governing law.      Therefore, these factors will be considered

neutral.

     In sum, this case could properly have been initiated in the

District of New Jersey, and all of the factors in the transfer

analysis either favor transfer or are neutral.            The plaintiff’s

choice of forum is entitled to very little weight in this

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analysis because no plaintiffs are resident in this District and

the locus of facts is centered in New Jersey and, to a lesser

extent, in the districts around the country where the plaintiff

and opt in plaintiffs worked.     BMS therefore was not required to

overcome a strong presumption in favor of this District, but

still presented clear and convincing evidence in favor of

transfer of this action to the District of New Jersey.



CONCLUSION

     BMS's May 9, 2011 motion to transfer venue is granted.

This action will be transferred to the District of New Jersey.


SO ORDERED:

Dated:   New York, New York
         June 27, 2011




                                                          Judge




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